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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
v.                                       Case No. 22-20185
                                         Honorable Victoria A. Roberts
TODD GROVER FISCHER,

     Defendant.
____________________________/


                   ORDER DENYING DEFENDANT’S
              MOTION TO SUPPRESS EVIDENCE [ECF No. 17]


I.     INTRODUCTION

       On April 20, 2022, a grand jury returned a superseding indictment

charging Todd Grover Fischer (“Fischer”) with felon in possession of a

firearm and felon in possession of ammunition – both in violation of 18

U.S.C. § 922(g)(1).

       Fischer moves to suppress all evidence seized during the execution

of a search warrant at his residence. The motion is fully briefed. A hearing

is unnecessary.

       For the reasons below, the Court DENIES Fischer’s motion [ECF No.

17].
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II.   BACKGROUND

      Fischer challenges the sufficiency of the affidavit supporting the

search warrant – i.e., he argues that the affidavit did not establish probable

cause to support the warrant. Therefore, except where noted, the Court

limits the facts to those contained in the challenged affidavit.

      Detective Clifton Morgan II of the Macomb County Sheriff’s Office

(“MCSO”) applied for the warrant on January 12, 2022. The probable

cause portion of the affidavit states:

      Affiant has been employed with the Macomb County Sheriff’s
      Office since 2003. The Affiant is a Detective with Macomb
      County Sheriff’s Office presently assigned to Criminal
      Investigations/Detective Bureau to investigate criminal matters
      within Macomb County.

      Affiant is currently investigating the below incident:

      On 1/2/2022, a Todd Grover Fischer (03/29/1965) and an
      unknown subject knocked on the door at 35922 Jefferson A13,
      Harrison Twp., MI in an attempt to make contact with an
      Antonio Bartolotta (10/30/1984) regarding owed money from a
      narcotics transaction by acquaintances known by Antonio. It
      was alleged that Antonio is hiding one of these acquaintances.
      Once the mobile home door was opened, Todd and the
      unknown subject entered the residence without permission.
      Todd produced a double barrel shotgun and began striking
      Antonio in the head multiple times causing injury. Todd then
      pointed the gun at three other victims in the residence. Those
      victims included Antonio’s fiancé, Anne Marie Petri
      (11/18/1990), and two juvenile victims. Todd pointed the gun
      and threatened to kill all of them if he didn’t receive payment of
      money owed from the narcotics transaction.


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      Todd then forced Antonio to sign over his motorcycle title to his
      1995 Harley Davidson (MI Plate 0RJ53). Todd then grabbed
      Anne around the neck with one hand and held the gun close to
      her head and threatened to take her instead of the motorcycle.

      Todd then made Antonio push his motorcycle to Todd’s
      residence, which is known by the victim to be located at 35922
      Jefferson Ave. B12, Harrison Twp., MI 48045. The motorcycle
      in question has been observed parked in front of this listed
      mobile home in the days following the initial report on 1/6/2022.

      Todd is a full patch member of the Vigilante's M/C and Antonio
      is an associate member of the Renegade’s M/C, both of which
      are known to be outlaw motorcycle clubs. Outlaw motorcycle
      club have been connected to guns, narcotics, and violent
      felonies in the past.

      Affiant believes that . . . obtaining the above will assist with the
      investigation and prosecution of carjacking, felonious assault
      and potentially other criminal charges.

[ECF No. 18-2, PageID.143].

      The affidavit described the place to search as “35922 Jefferson B12,

Harrison Twp., MI 48045. The home is a mobile home trailer . . . . There is .

. . a V with a MC underneath it located on the north side of the mobile

home in black writing. This search is to include any and all out buildings,

vehicles, storage sheds, mailboxes, and/or compartments within the

curtilage of the above listed address.” [Id., PageID.142].

      The affidavit described the property “to be searched for and seized”

as “Any and all items and instruments that would give evidence to the crime

of a carjacking, felonious assault, and other potential criminal charges
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relating to this investigation.” [Id.]. Among other things, this included

weapons. Additionally, the affidavit provided that “Th[e] search is to

specifically include the search for the stolen motorcycle (MI Plate 0RJ53)

and its secretary of state title.” [Id.].

       Magistrate Ryan Zemke of the 41B District Court of Michigan found

the affidavit established probable cause to authorize a search warrant of

Fischer’s residence.

       According to the police report summarizing the search, officers

executed the search warrant at 35922 Jefferson Ave. B12 that same day.

When they arrived, officers observed Fischer leaving the residence, and

Fischer gave them the key to enter his trailer.

       During the search, officers found Bartolotta’s motorcycle, a bloody

secretary of state title for the motorcycle, a .22 caliber handgun, and

several rounds of various types of ammunition – including 12-gauge

shotgun shells, .22 caliber rounds and .32 caliber pistol rounds. The

firearm and ammunition form the basis of Fischer’s charges.

III.   ANALYSIS

       Fischer moves to suppress all evidence obtained during the January

12, 2022 search. He says the affidavit for search warrant did not establish

probable cause “because each of the affidavit’s supporting facts was either


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stale or failed to establish a sufficient nexus between the evidence sought

and the residence.” [ECF No. 17, PageID.104]. Fischer also says the

affidavit contained false statements and material omissions.

      The government says the Court should deny Fischer’s motion. It says

his motion fails because: (1) the affiant presented sufficient evidence in the

affidavit to support a finding of probable cause; (2) there were no material

omissions or false statements in the affidavit; and (3) even if the warrant

was somehow defective, the good faith exception applies.

      A.    Probable Cause

      Under the Fourth Amendment, “no Warrants shall issue, but upon

probable cause, supported by Oath or affirmation, and particularly

describing the place to be searched, and the persons or things to be

seized.”

      Review of the sufficiency of the evidence supporting probable cause

is limited to the information presented in the four corners of the affidavit.

United States v. Frazier, 423 F.3d 526, 531 (6th Cir. 2005). In order to

conclude that an affidavit establishes probable cause, the issuing judge

must find that ‘given all the circumstances set forth in the affidavit ... there

is a fair probability that contraband or evidence of a crime will be found in a

particular place.’” United States v. Berry, 565 F.3d 332, 338 (6th Cir. 2009)


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(quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)). A fair probability

requires only “reasonable grounds for belief, supported by less than prima

facie proof but more than mere suspicion.” United States v. Bennett, 905

F.2d 931, 934 (6th Cir. 1990).

      To establish probable cause, there must be “a nexus between the

place to be searched and the evidence sought.” United States v.

McPhearson, 469 F.3d 518, 524 (6th Cir. 2006). “In other words, the

affidavit must suggest ‘that there is reasonable cause to believe that the

specific things to be searched for and seized are located on the property to

which entry is sought’ and not merely ‘that the owner of property is

suspected of crime.’” Id. (citation omitted).

      In reviewing a warrant application for probable cause, the Court must:

(1) “‘read the affidavit reasonably ... holistically, examining the totality of the

circumstances and employing a healthy dose of common sense’”; and (2)

“consider both the facts outlined in the affidavit and the reasonable

inferences permissibly drawn from those facts.” United States v. McCoy,

905 F.3d 409, 416 (6th Cir. 2018) (citation omitted). Moreover, the Court

must accord a magistrate’s determination of probable cause “great

deference,” reversing it only if the magistrate exercised its discretion

arbitrarily. United States v. Coffee, 434 F.3d 887, 892 (6th Cir. 2006).


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      B.    The Affidavit for Search Warrant Established Probable
            Cause to Search Fischer’s Residence

            i.    The Affidavit Established a Nexus Between the
                  Evidence Sought and Place Searched

      Fischer says the affidavit sets forth allegations in three components

that are intended to establish probable cause that a crime was committed:

(1) the alleged assaults and carjacking at Bartolotta’s residence; (2) that

Fischer forced Bartolotta to push his motorcycle to another residence; and

(3) that the other residence belongs to Fischer.

      Fischer says these allegations fail to establish a nexus between the

residence searched and evidence sought because: (1) the allegations of

the assaults and carjacking occurred at Bartolotta’s residence and have

nothing to do with the residence searched; (2) the allegation that Fischer

forced Bartolotta to push his motorcycle to another residence has nothing

to do with the contents of the actual residence, as there are no allegations

that the motorcycle or anyone or anything ever went into the residence; and

(3) “the allegation that Bartolotta knew the residence he pushed the

motorcycle to belongs to Mr. Fischer is contained nowhere in his written

statement to law enforcement and appears to be false according to

Bartolotta’s January 6, 2022 statement to Deputy Cleland.” [ECF No. 17,

PageID.106]. Fischer’s arguments lack merit.


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      First, Fischer’s third argument – i.e., that the allegation that Bartolotta

knew the residence he pushed the motorcycle to belongs to Fischer is

nowhere in his written statement to law enforcement and appears to be

false according to his January 6, 2022 statement to Deputy Cleland –

mischaracterizes the record. On January 6, Bartolotta told Deputy Cleland

that he was not sure he could trust the MCSO and that he was not going to

give him any more details – including Fischer’s name and address – until

he spoke with the FBI. The record clearly supports that Bartolotta knew

Fischer and knew his address.

      As for the probable cause determination, because the affidavit said

the residence to be searched belonged to Fischer, that information was

relevant to establish the nexus between the residence and evidence

sought. Moreover, contrary to Fischer’s contention, this, along with the

other facts in the affidavit – i.e., the allegations of the assaults and

carjacking and the allegation that Fischer forced Bartolotta to push his

motorcycle to Fischer’s residence – were sufficient to establish a nexus

between the evidence sought and residence searched.

      The affidavit established probable cause that: (1) Fischer assaulted

Bartolotta (and others) at gunpoint and forced him to sign over the title to

his motorcycle; (2) 35922 Jefferson Ave, B12 Harrison Twp. was Fischer’s


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residence; (3) Fischer forced Bartolotta to push the motorcycle to Fischer’s

residence; and (4) the motorcycle remained in front of his residence in the

days following the assault. Based on these facts, there was “reasonable

cause to believe that the specific things to be searched for and seized” –

e.g., the guns used during the assault and Bartolotta’s motorcycle title –

were located in Fischer’s residence. See McPhearson, 469 F.3d at 524.

Indeed, as the government says, it was reasonable – and indeed common

sense – to infer that if [Fischer] was brazen enough to store the victim’s

clearly identified motorcycle at his residence, that other evidence of this

carjacking/robbery, particularly the title, would be found in [his] residence.”

[ECF No. 18, PageID.129].

      The affidavit established a nexus between the evidence sought and

Fischer’s residence.

            ii.   The Information in the Affidavit Was Not Stale

      Fischer says the information in the affidavit was stale when the

magistrate made the probable cause determination.

      “Stale information cannot be used in a probable cause

determination.” United States v. Perry, 864 F.3d 412, 414 (6th Cir. 2017)

(citation omitted). While relevant, the length of time between the events in

the affidavit and the application for the warrant is not controlling. United


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States v. Abboud, 438 F.3d 554, 572 (6th Cir. 2006). Indeed, the function

of a staleness test “is not to create an arbitrary time limitation within which

discovered facts must be presented to a magistrate.” United States v.

Greene, 250 F.3d 471, 480 (6th Cir. 2001) (citation omitted). Rather, a

staleness determination is flexible and based on the totality of the

circumstances. Id. In analyzing whether information is stale, the Court

considers several factors:

      (1) the character of the crime (chance encounter in the night or
      regenerating conspiracy?),

      (2) the criminal (nomadic or entrenched?),

      (3) the thing to be seized (perishable and easily transferrable or
      of enduring utility to its holder?), and

      (4) the place to be searched (mere criminal forum of
      convenience or secure operational base?).


United States v. Frechette, 583 F.3d 374, 378 (6th Cir. 2009) (citation

omitted).

      The standard of review for a staleness determination is the same as

the standard to determine the sufficiency of an affidavit: a magistrate must

determine whether probable cause exists under the totality of the

circumstances, and the Court will not reverse a magistrate’s decision to




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grant a warrant unless it was arbitrarily exercised. Greene, 250 F.3d at 480

(citations omitted)

      Fischer says the allegations in the affidavit were stale because they

are of a single incident which occurred 10 days earlier.

      The government disagrees. It says the character of the crime was an

intent to permanently deprive Bartolotta of his motorcycle – a continuing

crime. The government says the few days that passed from the carjacking

to the search did not render the information stale. The government says

that if anything, the information is quite fresh considering that: (1)

documents such as title certificates are not perishable; and (2) since the

motorcycle was still at the location, then the title – which has enduring utility

and value to the individual who possessed the motorcycle – would logically

be there as well. The Court agrees.

      Fischer says the second and fourth factors – i.e., the criminal and the

place to be searched – weigh heavily in his favor because: (1) there is no

evidence that anyone saw him enter the residence after the alleged assault

or cause any evidence related to the alleged crime to be placed in the

home; (2) there is no indication that the residence was anything more than

a convenience; and (3) there are no allegations that he used this residence

to conduct criminal activity. The Court disagrees.


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      The second factor is neutral or weighs slightly against Fischer. There

is no evidence that Fischer is “nomadic or entrenched.” The only evidence

regarding his movement is that 35922 Jefferson Ave, B12 Harrison Twp.

was his residence – and that he made Bartolotta take his motorcycle there.

      The fourth factor weighs against Fischer. Contrary to Fischer’s

contention that there was no evidence that he used his residence to

conduct criminal activity, Fischer made Bartolotta take the motorcycle there

and it remained there until the search. A motorcycle is mobile; if Fischer’s

residence was a forum of convenience, common sense would suggest

Fischer would move the motorcycle. Moreover, as the government

contends, considering that Fischer kept the motorcycle at his residence, it

was reasonable to conclude that there was a fair probability that the title to

the motorcycle – and possibly other evidence related to the alleged

carjacking and assaults – was also located there.

      Fischer also says the first factor – i.e., the character of the crime –

weighs heavily in his favor. He says the affidavit alleges a chance

encounter that occurred 10 days prior to the request for the search warrant,

not any ongoing criminal activity or a reason to believe that any evidence of

the crime alleged may be found in the home.




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      Fischer ignores that the affidavit indicates that officers observed the

motorcycle parked in front of his residence in the days following the

assaults and armed carjacking. Therefore, even if the information

Bartolotta provided had become stale, the more recent information would

have “refreshed th[e] otherwise stale information.” See United States v.

Spikes, 158 F.3d 913, 924 (6th Cir. 1998) (“[W]here recent information

corroborates otherwise stale information, probable cause may be found.”).

Moreover, as the government says, Fischer’s ongoing possession of the

motorcycle continued to be a crime. Considering he kept the motorcycle at

his residence, the first factor weighs against Fischer.

      Fischer does not address the third factor. However, this factor also

weighs against him. The motorcycle and its title are not perishable. And

although they are easily moved, evidence showed that Fischer kept the

motorcycle at his residence after the assaults and carjacking – which made

it reasonable to conclude that the title would be there, too.

      The information in the affidavit was not stale and it established

probable cause to search Fischer’s residence.

            iii.   The Affidavit Did Not Contain False Statements or
                   Material Omissions

      Fischer says the affidavit contained false statements and material

omissions and that he is entitled to a Franks hearing.
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      Particularly, Fischer says the affidavit falsely states that he is a full

patch member of the Vigilante M/C and that the Vigilante M/C is an “outlaw”

motorcycle club. He claims that neither statement is true, and that the

affiant intentionally included the false statements despite knowing they

were untrue to cloud the fact that there was no probable cause.

      Fischer also says the affidavit failed to include: (1) that Bartolotta

made two earlier inconsistent statements: Bartolotta initially told law

enforcement that he was on the run from the Renegade Motorcycle Club

because a friend of his robbed one of their homes; and then in his January

6, 2022 interview with law enforcement, Bartolotta lied about being an FBI

informant and then made allegations of assaults and a carjacking but

refused to reveal the assailant’s name or location; and (2) that Deputy

Cleland could not obtain a name for the owner/occupant of 35922 Jefferson

Ave, B12 Harrison Twp. in LEIN. Fischer says these were material

omissions which the affiant made to bolster the credibility of Bartolotta.

      “A defendant is entitled to a Franks hearing if he: 1) makes a

substantial preliminary showing that the affiant knowingly and intentionally,

or with reckless disregard for the truth, included a false statement or

material omission in the affidavit; and 2) proves that the false statement or

material omission is necessary to the probable cause finding in the


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affidavit.” United States v. Young, 847 F.3d 328, 348-49 (6th Cir. 2017).

The Court has discretion to determine whether to hold an evidentiary

hearing regarding alleged misstatements and omissions in a search

warrant's affidavit. Id. at 348. No hearing is necessary.

      The Court finds that Fischer fails to make a “substantial preliminary

showing” that the affiant knowingly and intentionally, or with reckless

disregard for the truth, included a false statement or material omission in

the affidavit.

      As the government shows, Fischer is incorrect that Vigilante M/C is

not considered an outlaw motorcycle club. See United States v. Wenglasz,

Case No. 17-20246 (E.D. Mich.), ECF No. 1, PageID.1 (“At all times

material to this Information, the Vigilante Motorcycle Club . . . was a

criminal organization, that is: an outlaw motorcycle club which existed

geographically and territorially alongside, and in some instances, in a

hostile co-existence with other outlaw motorcycle clubs in various parts of

the State of Michigan.”). Evidence also supports that Fischer is a member

of Vigilante M/C.

      Fischer fails to show the affidavit included false statements.

Additionally, even if some statements were false, they are not material; the

affidavit establishes probable cause without them.


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      The omissions raised by Fischer are similarly not material to the

finding of probable cause. While it is true that Bartolotta initially gave

inconsistent statements, it is clear from the record that he made those

statements because he was afraid of Fischer and did not trust law

enforcement. More importantly, the information Bartolotta provided in his

third interview was consistent with the information two other witnesses –

Aaron Cox and Bartolotta’s girlfriend/fiancé – provided during their

interviews. The government states, and the Court agrees, that the

omission of a reference to prior inconsistent statements – when explained

in the context of fear of Fischer, reluctance to identify him, and mistrust of

the police – was not material to the finding of probable cause.

      Finally, omission of the information that police could not obtain a

name on the residence in LEIN is immaterial since Bartolotta and his

girlfriend/fiancé identified trailer B12 as Fischer’s residence, and law

enforcement observed Bartolotta’s motorcycle there. Fischer fails to

explain how the lack of a LEIN record of residency means that that was not

his residence, or how the lack of this undermined the finding of probable

cause. It did not.




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       The affidavit for search warrant did not contain material

misrepresentations or omissions, and Fischer is not entitled to an

evidentiary hearing.

             iv.   Fischer’s Reply Brief

       In his reply, Fischer repeatedly argues that the affidavit fails to list any

particular items law enforcement sought and hoped to seize, and simply

asks for a general warrant to go through his home looking for whatever

they may find. This grossly mischaracterizes the affidavit for search

warrant. Among other things, the warrant lists “the stolen motorcycle (MI

Plate 0RJ53) and its secretary of state title” as property “to be search for

and seized.” [ECF No. 18-2, PageID.142].

IV.    CONCLUSION

       The Court DENIES Fischer’s motion to suppress evidence [ECF No.

17].

       IT IS ORDERED.
                                             s/ Victoria A. Roberts
                                             Victoria A. Roberts
                                             United States District Judge

Dated: July 8, 2022




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